   Case 4:24-cv-01940    Document 45-3     Filed on 03/14/25 in TXSD     Page 1 of 1




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION



TERRY MONSKY, Individually and On Behalf
of All Others Similarly Situated,

                         Plaintiff,         Case No. 4:24-cv-01940
                                            (Consolidated with Case No. 4:24-cv-02567)
      vs.

DIRECT DIGITAL HOLDINGS, INC.,              Judge Kenneth M. Hoyt
MARK WALKER, KEITH W. SMITH,
DIANA DIAZ, and DIRECT DIGITAL
MANAGEMENT, LLC,

                         Defendants.


    [PROPOSED] ORDER DENYING DEFENDANTS’ MOTION TO DISMISS
             PLAINTIFF’S CONSOLIDATED COMPLAINT

      The Court has considered Defendants’ Motion to Dismiss Plaintiff’s Consolidated

Complaint, Lead Plaintiff’s Opposition to Defendants’ Motion to Dismiss, and any reply

thereto, and any argument of counsel. IT IS HEREBY

ORDERED that Defendants’ Motion to Dismiss is DENIED.

      SIGNED at Houston, Texas, this ____ day of ____________________, ________.



                                       _________________________________
                                       The Honorable Kenneth M. Hoyt
                                       United States District Judge
